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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW HAMPSHIRE

SCOTTSDALE CAPITAL ADVISORS CORP,                      )
AND JOHN HURRY,                                        )
                                                       )
                                   Plaintiffs,         )
                                                       )    CASE NO. 1:16-CV-00545
                  v.                                   )
                                                       )    Hon. Joseph Normand Laplante
THE DEAL, LLC AND WILLIAM MEAGHER,                     )
                                                       )
                                   Defendants.         )
                                                       )

                        DEFENDANTS’ ASSENTED-TO MOTION TO SEAL

        Defendants The Deal, LLC and William Meagher (collectively, the “Defendants”), by

and through their attorneys, pursuant to Local Rule 83.12 and Rule 3.3 of the Supplemental

Rules for Electronic Case Filing, respectfully request the court seal Defendants’ Supplemental

Memorandum of Law in Further Support of their Motion to Dismiss Pursuant to Federal Rule of

Civil Procedure 12(b)(2), the accompanying Supplemental Declaration of John M. Browning,

and Exhibit B annexed thereto. In support of this motion, Defendants state as follows:

        1.        On or about November 18, 2016, Plaintiffs filed this claim for defamation,

invasion of privacy, intentional interference with contractual relations, and tortious interference

with prospective economic advantage in Hillsborough County Superior Court (Northern

District).

        2.         On December 22, 2016, Defendants removed the state court action to the United

States District Court for the District of New Hampshire (Dkt. 1).

        3.        On February 2, 2017, Defendants filed a motion to dismiss for lack personal

jurisdiction (Dkt. 16). Defendants filed their objection on February 17, 2017 (Dkts. 17 and 18)

and Plaintiffs filed their reply on March 3, 2017 (Dkt. 20).


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         4.        On May 15, 2017, this Court (LaPlante, J.) heard argument on the motion and

took Defendants’ motion to dismiss under advisement pending completion of jurisdictional

discovery and filing of supplemental briefing.

         5.        On June 2, 2017, the Court entered the protective order agreed to between the

parties and dated May 20, 2017 (the “Protective Order”) (See Dkt. 25).

         6.        The Protective Order, by its terms, is intended to protect from public disclosure

confidential personal information, trade secrets, personnel records, or commercial information.

Protective Order, ¶ 3. Specifically, in this instance, Defendants have produced and seek to file

documents and information including highly sensitive user data and commercially sensitive

pricing information relating to The Deal’s subscription sales. See Local Rule 83.12(c).

         7.        This Motion to Seal would apply to the following documents:

                   a. Defendants’ Supplemental Memorandum of Law in Further Support of their

                        Motion to Dismiss Pursuant to Federal Rule of Civil Procedure 12(b)(2) (filed

                        on the public docket in redacted form);

                   b. The Supplemental Declaration of John M. Browning in Further Support of

                        Defendants’ Motion to Dismiss (filed on the public docket in redacted form);

                   c.   Exhibit B annexed thereto .

         8.        Pursuant to Local Rule 83.12(c), Defendants propose the requested seal order

shall expire twelve months after the date on which the Court enters an order disposing of

Defendants’ Motion to Dismiss.

         9.        Defendants propose that the materials be sealed at Level I pursuant to Local Rule

83.12(b)(1).

         10.       Plaintiffs do not oppose the relief requested herein. Local Rule 7.1(c).




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         11.       As this matter is committed to the Court’s sound discretion, no memorandum of

law is submitted in support of this motion. Local Rule 7.1(a)(2).

    WHEREFORE, Plaintiffs respectfully request that this Honorable Court:

    (A) Grant this motion to seal; and

    (B) Grant such other and further relief as may be just and proper.

DATED: July 6, 2017                                 Respectfully submitted,

                                                    The Deal, LLC and William Meagher
                                                    By Their Attorneys:
                                                    SHAHEEN & GORDON, P.A.
                                                    /s/ Steven M. Gordon
                                                    Steven M. Gordon
                                                    NH Bar No. 964
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                                                    DAVIS WRIGHT TREMAINE LLP
                                                    Elizabeth A. McNamara (pro hac vice)
                                                    John M. Browning (pro hac vice)
                                                    1251 Avenue of the Americas, 21st Floor
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                                   CERTIFICATE OF SERVICE

        I hereby certify that the foregoing Defendants’ Assented-To Motion to Seal was served
on the following persons on this date and in the manner specified herein:

         Electronically Served Through ECF:
                George R. Moore, Esq.- gmoore@devinemillimet.com
                Christopher D. Hawkins, Esq. - chawkins@devinemillimet.com

         Via 1st Class Mail

                   Charles J. Harder, Esq. (pro hac vice) - charder@hmafirm.com
                   Jordan Susman, Esq. (pro hac vice) - jsusman@hmafirm.com
                   Steven Frackman, Esq. (pro hac vice) - sfrackman@hmafirm.com


Dated: July 6, 2017                                  /s/ Steven M. Gordon
                                                     Steven M. Gordon, NH Bar #964




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